   Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 1 of 34 PageID #:868



                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in               )
interest by merger to National City Bank, successor        )
in interest by merger to MidAmerica Bank, FSB              )
                                                           )   No 13 cv 07271
                                     Plaintiff.            )
                                                           )   Property Address:
                      vs.                                  )   124-136 S. Randall Road
                                                           )   Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general            )
Partnership; Chicago Title Land Trust Company,             )   Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as            )   Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15,           )
1993 and Known as Trust Number 3504; Jeffrey R.            )
Dunham; Robert R. Dunham; Power Pizza Company              )
d/b/a Jake’s Pizza, an Illinois domestic corporation;      )
Phoenix Leasing Incorporated, a foreign corporation;       )
                                                           )
                                                           )
                                     Defendants.           )


                            FIFTH REPORT OF THE RECEIVER

The Receiver, Joshua E. Joseph, herewith submits a Fifth Report of Receiver summarizing the
activities performed by the Receiver from August 1, 2014 - September 30, 2014. Pursuant to
the Court Order dated December 5, 2013, Joshua E. Joseph was appointed Receiver for the
mortgaged real estate in the above case commonly known as 124-136 S. Randall Road,
Algonquin, Illinois 60102; herein referred to as the “Property.”


                            DESCRIPTION OF THE PROPERTY

Location:                    124-136 S. Randall Road, Algonquin, McHenry County, Illinois
Property Type:               Retail Strip Center
Gross Building Area:         13,850 square feet
Number of Buildings:         1
Number of Units:             7
Year Built:                  1995
Construction:                Brick and block
Land Area:                   1.38 acres
Parking:                     Approx. 55 asphalt-paved spaces
Condition:                   Average to good

Photographs of the Property are included as Exhibit “A”.

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                      GENERAL STATUS & RECEIVER ACTIVITY

Overview

The Receiver has continued to perform routine inspections of the Property to ensure there are no
life safety issues or deferred maintenance requiring immediate action. Property services
including utilities and landscaping have been maintained. The Receiver is collecting rents and
paying operating expenses. The Receiver has also maintained communication with the tenants at
the Property and the parties to this case. There are no issues to report at this time.


Marketing

The order appointing Receiver grants the Receiver authority to market the Property for sale. The
Receiver has marketed the Property for sale and obtained several purchase offers which were
sent to the Plaintiff and Defendant’s counsel via e-mail for consideration. There have also been
prospective tenants interested in leasing vacant units at the Property. The Receiver will present
any proposed leases for approval if terms are agreed to with a prospective tenant.


                                    RECEIVER’S BOND

The Order Appointing Receiver required the posting of a $75,000 bond. The Receiver posted the
bond on December 10, 2013.

                                         INSURANCE

The Receiver has verified that the Plaintiff has placed adequate property insurance coverage on
the Property. A copy of the insurance certificate covering the term of 3/15/14 – 3/15/15 is
attached as Exhibit “B”.

                                     PROPERTY TAXES

The Property is located in McHenry County. There is one (1) PIN associated with the Property:
19-30-400-008. The first installment of 2013 taxes (payable 2014) totaled $40,726.66 and was
paid by the Receiver on June 2, 2014. The second installment of 2013 taxes (payable 2014)
totaled $40,726.66 and was paid on July 30, 2014.

A copy of the most recent tax bill from the McHenry County Treasurer website is attached as
Exhibit “C”.

                         BANKING AND FINANCIAL ACTIVITY

The Receiver has established a bank account to deposit rental income and pay operating
expenses for the term of the receivership. From August 1 through September 30, 2014, total
receipts were $27,370.80 and total expenses were $8,063.98. The net operating income for the

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period was $19,306.82. The reconciled cash balance on hand as of 9/30/14 was $38,269.96.
Financial statements including a current rent roll, income and expense statement, bank
reconciliations, receipt register, check register, and aged delinquency report, are included as
Exhibit “D”.

Detailed invoices for the legal fees incurred are also attached to Exhibit “D”.

                                         LITIGATION

The Receiver is not aware of any litigation involving the Property other than the subject
foreclosure case.

                                      RECEIVER’S FEES

A detailed billing statement for the Receiver’s fees is attached as Exhibit “E”.

                                        DRAFT ORDER

A draft order approving the Fifth Report of the Receiver is attached as Exhibit “F”.

                                    TABLE OF EXHIBITS


EXHIBIT A – PHOTOGRAPHS
EXHIBIT B – INSURANCE
EXHIBIT C – REAL ESTATE TAXES
EXHIBIT D – FINANCIAL ACTIVITY & RENT ROLL
EXHIBIT E – RECEIVER’S FEES
EXHIBIT F – DRAFT ORDER



                             Contact Information for the Receiver

                                        Joshua E. Joseph
                                707 Skokie Boulevard, Suite 580
                                      Northbrook, IL 60062
                                     (847) 770-6262 Phone
                                jjoseph@frontlinerepartners.com

Respectfully submitted,


___________________________________

Joshua E. Joseph, as Receiver


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               EXHIBIT A
Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 5 of 34 PageID #:872
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               EXHIBIT B
                       Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 7 of 34 PageID #:874
                                                                                           RANDA-2                                                                        OP ID: EZ
                                                                                                                                                                  DATE (MM/DD/YYYY)
                                             CERTIFICATE OF LIABILITY INSURANCE                                                                                      04/04/2014
    THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
    CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
    BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
    REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
    IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
    the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
    certificate holder in lieu of such endorsement(s).
                                                                                            CONTACT
PRODUCER
                                                                                            NAME:       GEORGE PRATIKAKIS
Crandall, Dubow & Harner, Inc.                                                              PHONE                                                   FAX
3175 Commercial Ave., Ste 200                                                               (A/C, No, Ext):                                         (A/C, No):
Northbrook, IL 60062                                                                        E-MAIL
                                                                                            ADDRESS: GEORGEP@TOTINS.COM
Mike Dubow
                                                                                                               INSURER(S) AFFORDING COVERAGE                                NAIC #
                                                                                            INSURER A : Society    Insurance                                           15261
INSURED        Randall Road Joint Venture LLC                                               INSURER B :
               Frontline Real Estate Partners                                               INSURER C :
               707 Skokie Blvd Suite 580
               Northbrook, IL 60062                                                         INSURER D :

                                                                                            INSURER E :
                                                                                            INSURER F :

COVERAGES                                   CERTIFICATE NUMBER:                                                                  REVISION NUMBER:
    THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
    INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
    CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
    EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                              ADDL SUBR                                          POLICY EFF   POLICY EXP
 LTR             TYPE OF INSURANCE                INSD WVD              POLICY NUMBER               (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS
A      X   COMMERCIAL GENERAL LIABILITY                                                                                           EACH OCCURRENCE                $          1,000,000
                                                                                                                                  DAMAGE TO RENTED
               CLAIMS-MADE     X   OCCUR           X          11428323                              03/15/2014 03/15/2015         PREMISES (Ea occurrence)       $            300,000
                                                                                                                                  MED EXP (Any one person)       $              5,000
                                                                                                                                  PERSONAL & ADV INJURY          $          1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                         GENERAL AGGREGATE              $          2,000,000
                      PRO-
           POLICY     JECT          LOC                                                                                           PRODUCTS - COMP/OP AGG         $          2,000,000
           OTHER:                                                                                                                                                $
       AUTOMOBILE LIABILITY                                                                                                       COMBINED SINGLE LIMIT          $
                                                                                                                                  (Ea accident)
           ANY AUTO                                                                                                               BODILY INJURY (Per person)     $
           ALL OWNED            SCHEDULED                                                                                         BODILY INJURY (Per accident) $
           AUTOS                AUTOS
                                NON-OWNED                                                                                         PROPERTY DAMAGE                $
           HIRED AUTOS          AUTOS                                                                                             (Per accident)
                                                                                                                                                                 $
           UMBRELLA LIAB           OCCUR                                                                                          EACH OCCURRENCE                $
           EXCESS LIAB             CLAIMS-MADE                                                                                    AGGREGATE                      $

              DED          RETENTION $                                                                                                                           $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
       AND EMPLOYERS' LIABILITY                                                                                                        STATUTE         ER
                                            Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                           E.L. EACH ACCIDENT             $
       OFFICER/MEMBER EXCLUDED?                   N/A
       (Mandatory in NH)                                                                                                          E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                            E.L. DISEASE - POLICY LIMIT    $
A PROPERTY                                                    11428323                              03/15/2014 03/15/2015 BUILDING                                          1,700,000
                                                                                                                          DED                                                   2,500

DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
THE FOLLOWING ARE ADDITIONAL INSURED WITH RESPECT TO GENERAL LIABILITY, WHEN
REQUIRED BY WRITTEN CONTRACT:
- PNC BANK
- JOSHUA JOSEPH AS RECEIVER
- FRONTLINE REAL ESTATE PARTNERS.



CERTIFICATE HOLDER                                                                          CANCELLATION

                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
               FRONTLINE REAL ESTATE PARTNERS                                                 ACCORDANCE WITH THE POLICY PROVISIONS.
               707 SKOKIE BLVD., SUITE 580
               NORTHBROOK, IL 60062                                                         AUTHORIZED REPRESENTATIVE




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ACORD 25 (2014/01)                                   The ACORD name and logo are registered marks of ACORD
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               EXHIBIT C
               FROM THE OFFICE OF:            REAL ESTATE TAX BILL                                                         ASSESSED TO: AMCORE TR CO TR 3504
               WILLIAMCase:
                       W. Le FEW
                              1:13-cv-07271  Document COUPON
                                         1ST INSTALLMENT #: 90 Filed: 10/03/14
                                                                PAYMENT                                             Page 9 of 34 PageID
                                                                                                                                      PIN:#:876
                                                                                                                                            19-30-400-008
               McHENRY COUNTY TREASURER


               MAKE CHECKS PAYABLE TO: McHENRY COUNTY COLLECTOR                                         *$RE19304000081$*
                                                                                                             1ST INSTALLMENT FOR 2013
                                                                                                                   DUE BY 06/04/2014                                 $40,726.66
                                            **DUPLICATE**
                                                                                                                                       INTEREST

               CENTERVILLE PROP
               2380 ESPLANADE DR
                                                                                              1-2013                                     COSTS
                                                                                                                                    TOTAL PAID
                                                                                                                                                          Paid on
                                                                                                                                                          06/02/2014
               STE 300
               ALGONQUIN IL 60102-5451


     PAID BY: CHECK ____ CASH ____ MAIL ____ CREDIT CARD ____                                                            1930400008000407266617



               FROM THE OFFICE OF:        REAL ESTATE TAX BILL                                                             ASSESSED TO: AMCORE TR CO TR 3504
               WILLIAM W. Le FEW     2ND INSTALLMENT COUPON PAYMENT                                                                                       PIN:   19-30-400-008
               McHENRY COUNTY TREASURER

               MAKE CHECKS PAYABLE TO: McHENRY COUNTY COLLECTOR                                         *$RE19304000082$*
                                                                                                             2ND INSTALLMENT FOR 2013
                                                                                                                   DUE BY 09/04/2014                                 $40,726.66
                                            **DUPLICATE**
                                                                                                                                       INTEREST
               CENTERVILLE PROP
               2380 ESPLANADE DR
               STE 300
                                                                                                 2-2013                                  COSTS
                                                                                                                                    TOTAL PAID
                                                                                                                                                          Paid on
                                                                                                                                                          07/30/2014
               ALGONQUIN IL 60102-5451


                                                                                                                         1930400008000407266629
     PAID BY: CHECK ____ CASH ____ MAIL ____ CREDIT CARD ____

             Taxing Body                  Rate Percent Tax This Year Tax Last Year                                                                          Fair Cash Value
                                                                                                                                                                      2,283,610
MCHENRY COUNTY                       0.945481      8.83     $7,196.32     $7,322.15
                                                                                                                                                            S/A Value
MCHENRY COUNTY               PENSION 0.150564      1.41     $1,145.99       $953.67 MCHENRY COUNTY 2013 REAL ESTATE TAX BILL                                            811,350
                                                                                    LEGAL DESCRIPTION:
MCHENRY CO CONSV                     0.274794      2.57     $2,091.53     $2,061.73                                                                         S/A Multiplier                X
                                                                                    DOC 93R0081755
COLLEGE DISTRICT 509 ELGIN           0.503395      4.70     $3,831.48     $4,367.14 LT 2                                                                                 .9381
COLLEGE DISTRICT 509 ELGIN   PENSION 0.006692      0.06        $50.93        $61.72 KAPERS WEST SUB                                                         S/A Equalized Value           =
SCHOOL DIST 300                      6.135676     57.33    $46,700.28    $45,241.54                                                                                     761,127
SCHOOL DIST 300              PENSION 0.216237      2.02     $1,645.84     $1,341.31   ASSESSED TO:                                                          Brd. of Review Value
ALG LITH FIRE DIST                   0.830296      7.76     $6,319.61     $6,134.20   AMCORE TR CO TR 3504                                                              761,127
                                                                                                                                                            Brd. of Review Mulitplier     X
ALG LITH FIRE DIST           PENSION 0.106103      0.99      $807.58        $736.49   SITE ADDRESS:                                                                     1.0000
ALGONQUIN LIBRARY                    0.547744      5.12     $4,169.02     $3,958.07                                                                         Brd. of Review EQ Value       =
                                                                                      124 S RANDALL RD
ALGONQUIN LIBRARY            PENSION 0.039053      0.36      $297.25        $399.11   ALGONQUIN, IL 60102                                                               761,127
ALGONQUIN TOWNSHIP                   0.082064      0.77      $624.61        $616.29                                                                         Home Improv./Vet Exemptions -
ALGONQN TWP RD & BR                  0.173779      1.62     $1,322.68     $1,285.78                                                                                            0
ALGONQN TWP RD & BR          PENSION 0.008933      0.08        $67.99        $66.10 If paid after due date, pay amount below which includes 1.5% per        State Multiplier              X
ALGONQUIN VILLAGE                    0.403969      3.77     $3,074.72     $3,193.31 month penalty: FIRST INSTALLMENT SECOND INSTALLMENT
                                                                                                                                                                        1.0000
                                                                                                                                                            State Equalized Value         =
ALGONQUIN VILLAGE            PENSION 0.276891      2.59     $2,107.49     $1,940.91 06/05 - 07/04             41,337.56
                                                                                                                                                                        761,127
                                                                                     07/05 - 08/04            41,948.46
                                                                                     08/05 - 09/04            42,559.36                                     Farmland and Bldgs. Value     +
                                                                                     09/05 - 10/04            43,170.26           41,337.56
                                                                                                                                                                               0
                                                                                     10/05 - 10/24            43,781.16           41,958.46                 Total Amt. Prior to Exemptions =
                                                                                                                                                                        761,127
                                                                                                                                                            Annual Homestead Exemptions-
                                                                                      PIN                                                                                      0
                                                                                                                  19-30-400-008                             Sr. Freeze Abated Amount      -
                                                                                                 Township            Tax Code            Property Class                        0
                                                                                                 AQ                    19005                  0060          Elderly Homestead Exemption -
                                                                                              Sub Lot             Acres                                                        0
                                                                                                                  1.38                                      Disabled Vet Homestead Ex     -
                                                                                                                                                                               0
                                                                                      1st Install                        2nd Install
                                                                                                                                                            Disabled Person Exemption     -
                                                                                                            $40,726.66                       $40,726.66                        0
                                                                                      Interest                           Interest
                                                                                                                                                            Returning Veteran Exemption -
                                                                                                                                                                               0
                                                                                      Costs                              Costs                              Net Taxable Amount            =
                                                                                                                                                                        761,127
                                                                                      Total Paid                         Total Paid                         Local Tax Rate                X
                                                                                                                                                                     10.701671
                                                                                                                                                            Total Current Year Tax Due    =
                                                                                      Paid on                            Paid on
                             Totals   10.701671            $81,453.32    $79,679.52   06/02/2014                         07/30/2014                                $81,453.32
HOW AND WHERE CAN I PAY MY REAL ESTATE          BY COMPUTER
           Case: 1:13-cv-07271
             TAX BILLS?        Document #: 90 Filed: 10/03/14 Page 10 of 34 PageID #:877
                                                - Log on to http://www.mchenrytreasurer.org, click on
 CHECK AND CASH                                 the Property Tax Icon. Choose method of payment from
 - By mail, in the envelopes provided                   options on the screen. Credit Card or Check/Debit and
                                                        follow the instructions. (A convenience fee of 2.5% will
 - At most banks in McHenry County - Call your bank     be assessed on credit card payments.)
   There is a $50.00 fee for returned checks.
                                                        Note: McHenry County does not receive any portion of
 - In person at the McHenry County Treasurer's Office   this fee. Credit card and check/debit payments are also
                       2100 N Seminary Ave              accepted by calling 1-877-309-9309 from your home
                       Woodstock, IL 60098      OR      or business. Credit cards are now accepted at the
                                                        government center site with the same convenience fee
 24 Hour Drop Box at Treasurer's Office Location
                                                        assessed by the internet payment center. Credit card
 NOTE: WE ARE NOT ALLOWED TO ACCEPT                     payments are not accepted at banks.
        PARTIAL PAYMENTS ON TAXES
        There is a $50.00 fee for returned checks.
HOW AND WHERE CAN I PAY MY REAL ESTATE                  BY COMPUTER
             TAX BILLS?                                 - Log on to http://www.mchenrytreasurer.org, click on
 CHECK AND CASH                                         the Property Tax Icon. Choose method of payment from
 - By mail, in the envelopes provided                   options on the screen. Credit Card or Check/Debit and
                                                        follow the instructions. (A convenience fee of 2.5% will
 - At most banks in McHenry County - Call your bank     be assessed on credit card payments.)
   for tax service information
                                                        Note: McHenry County does not receive any portion of
 - In person at the McHenry County Treasurer's Office   this fee. Credit card and check/debit payments are also
                        2100 N Seminary Ave             accepted by calling 1-877-309-9309 from your home
                        Woodstock, IL 60098     OR      or business. Credit cards are now accepted at the
                                                        government center site with the same convenience fee
 24 Hour Drop Box at Treasurer's Office Location
                                                        assessed by the internet payment center. Credit card
 NOTE: WE ARE NOT ALLOWED TO ACCEPT                     payments are not accepted at banks.
        PARTIAL PAYMENTS ON TAXES
        There is a $50.00 fee for returned checks.
                              KEEP THIS PORTION FOR YOUR RECORDS

         FIRST PAYMENT RECEIVED                                    LATE PAYMENT INFORMATION
                                                        Due to a change in Illinois law, all taxes not received on
                                                        or before the due date will immediately be assessed an
                                                        interest penalty at the rate of 1-1/2% the day after the
                                                        due date. An additional 1-1/2% is added each 30 days



                     1                                  after the due date.


                                                        The COUNTY TREASURER, 815-334-4260, has
                                                        information pertaining to the actual tax bill, amount and
                                                        tax payment procedures.
       SECOND PAYMENT RECEIVED                          The COUNTY CLERKS TAX EXTENSION OFFICE,
                                                        815-334-4242, can answer inquiries about the various
                                                        tax rates.

                                                        Your INDIVIDUAL TOWNSHIP ASSESSOR, can explain



                     2
                                                        how your assessment was determined.

                                                        Your SUPERVISOR OF ASSESSMENTS OFFICE,
                                                        815-334-4290, can offer assistance relating to
                                                        assessment complaints and exemptions.
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                EXHIBIT D
                Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 12 of 34 PageID #:879
124-136 S Randall Rd, Algonquin (124-136r)                                                                 Page 1

Income Statement
Period = Aug 2014-Sep 2014
Book = Cash ; Tree = ysi_is
                                             Period to Date         %         Year to Date                      %

OPERATING INCOME

RENTAL REVENUE
 Rent                                            22,744.00        0.00          86,850.00                     0.00
 Prepaid Rent                                         0.80        0.00               0.80                     0.00
TOTAL RENTAL REVENUE                             22,744.80        0.00          86,850.80                     0.00

RECOVERABLE INCOME
 Estimated CAM                                    1,422.00        0.00          13,177.19                     0.00
 Estimated Real Estate Taxes                      3,204.00        0.00          28,865.00                     0.00
TOTAL RECOVERABLE INCOME                          4,626.00        0.00          42,042.19                     0.00

OTHER INCOME
 Misc Income                                          0.00        0.00              68.49                     0.00
TOTAL OTHER INCOME                                    0.00        0.00              68.49                     0.00

TOTAL INCOME                                     27,370.80        0.00         128,961.48                     0.00




OPERATING EXPENSES

NON RECOVERABLE OPERATING EXPENSES
 Locks & Keys R&M                                     0.00        0.00             442.86                     0.00
 Tenant Space R&M                                     0.00        0.00             281.46                     0.00
TOTAL NON-RECOVERABLE R&M                             0.00        0.00             724.32                     0.00

NON-RECOVERABLE UTILITIES
 Gas                                                 68.37        0.00           1,986.83                     0.00
 Electricity                                        409.46        0.00             941.62                     0.00
TOTAL NON-RECOVERABLE UTILITIES                     477.83        0.00           2,928.45                     0.00

NON-RECOVERABLE G&A
 Legal Fees                                       1,002.95        0.00           6,889.95                     0.00
 Other Professional Fees                          4,000.00        0.00          16,994.35                     0.00
 General & Admin Expense                              0.00        0.00             174.16                     0.00
 Permit & License                                     0.00        0.00              40.00                     0.00
 Receiver Bond                                     -750.00        0.00               0.00                     0.00
 Bank Fees                                           97.80        0.00             344.13                     0.00
 Travel & Parking                                     0.00        0.00              22.00                     0.00
TOTAL NON-RECOVERABLE G&A                         4,350.75        0.00          24,464.59                     0.00

TOTAL NON RECOVERABLE EXPENSES                    4,828.58        0.00          28,117.36                     0.00

RECOVERABLE EXPENSES

REPAIRS & MAINTENANCE
 Cleaning/Sweeping                                  294.00        0.00             378.00                     0.00
 Landscaping                                          0.00        0.00           1,326.25                     0.00
 Snow Removal                                         0.00        0.00           5,528.75                     0.00
 Trash Removal                                      534.50        0.00           4,535.24                     0.00
 Fire Alarm Monitoring                              119.00        0.00             119.00                     0.00
 Plumbing R&M                                         0.00        0.00             684.60                     0.00
 Electrical R&M                                     498.94        0.00             498.94                     0.00
 Miscellaneous R&M                                    0.00        0.00             218.62                     0.00
TOTAL REPAIRS & MAINTENANCE                       1,446.44        0.00          13,289.40                     0.00

UTILITIES
 Electricity                                          0.00        0.00           1,016.48                     0.00
 Water/Sewer                                      1,046.54        0.00           3,740.99                     0.00
TOTAL UTILITIES                                   1,046.54        0.00           4,757.47                     0.00

PROPERTY TAXES
 Real Estate Taxes                                    0.00        0.00          40,726.66                     0.00
 Convenience Fees                                     0.00        0.00               3.00                     0.00

                                                                                       Tuesday, September 30, 2014
                                                                                                         02:43 PM
                Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 13 of 34 PageID #:880
124-136 S Randall Rd, Algonquin (124-136r)                                                                 Page 2

Income Statement
Period = Aug 2014-Sep 2014
Book = Cash ; Tree = ysi_is
                                             Period to Date         %         Year to Date                      %
TOTAL PROPERTY TAXES                                   0.00       0.00          40,729.66                     0.00

INSURANCE
 Insurance                                          698.30        0.00           2,783.37                     0.00
 Insurance - Other                                    0.00        0.00             750.00                     0.00
TOTAL INSURANCE                                     698.30        0.00           3,533.37                     0.00

G&A RECOVERABLE EXPENSES
 Messenger/Delivery                                   0.00        0.00              20.42                     0.00
 Postage                                             44.12        0.00             103.84                     0.00
TOTAL G&A RECOVERABLE EXPENSES                       44.12        0.00             124.26                     0.00

TOTAL RECOVERABLE EXPENSES                        3,235.40        0.00          62,434.16                     0.00

TOTAL OPERATING EXPENSES                          8,063.98        0.00          90,551.52                     0.00

NET OPERATING INCOME                             19,306.82        0.00          38,409.96                     0.00

NET INCOME (LOSS)                                19,306.82        0.00          38,409.96                     0.00




                                                                                       Tuesday, September 30, 2014
                                                                                                         02:43 PM
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                                                                                                                                                               9/30/2014 1:50 PM
                                                                   124-136 S Randall Rd, Algonquin (124-136r)

                                                                           Receipt Register
                                                                           Period = Aug 2014-Sep 2014
Control   Batch      Period        Date                     Person                      Property        Account    Amount        Reference                    Notes
R-11102 2878      08-2014     8/13/2014   CPR - Cell Phone Repair(cellphon)          124-136r                        3,518.00
R-11103 2878      08-2014     8/13/2014   Crystal Lake Shoe Repair(crystall)         124-136r                          450.00
R-11105 2878      08-2014     8/13/2014   Vogue Cleaners(voguecle)                   124-136r                        6,000.00
R-11175 2890      08-2014     8/14/2014   El Fuego Tacos & Burritos(elfuego)         124-136r                        3,017.17                NSFed by ctrl# 11282 NSF
R-11282           08-2014     8/26/2014   El Fuego Tacos & Burritos(elfuego)         124-136r                        -3,017.17               NSF receipt Ctrl# 11175
R-11285 2913      08-2014     8/28/2014   FL RC Management                           124-136r                          750.00                duplicate bond payment reimbursement
R-11394 2929      09-2014     9/4/2014    Vogue Cleaners(voguecle)                   124-136r                        6,000.00
R-11529 2949      09-2014     9/12/2014   CPR - Cell Phone Repair(cellphon)          124-136r                        3,518.00
R-11530 2949      09-2014     9/12/2014   El Fuego Tacos & Burritos(elfuego)         124-136r                        3,717.00
R-11531 2949      09-2014     9/12/2014   El Fuego Tacos & Burritos(elfuego)         124-136r                        3,717.00
R-11632 2979      08-2014     8/13/2014   CPR - Cell Phone Repair(cellphon)          124-136r                            0.80
R-11818 3016      09-2014     9/19/2014   Crystal Lake Shoe Repair(crystall)         124-136r                          450.00

                                                                                                           Total    28,120.80




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                                                                                                                                                       9/30/2014 1:47 PM
                                                          124-136 S Randall Rd, Algonquin (124-136r)

                                                                    Check Register
                                                                 Period = Aug 2014-Sep 2014
Control Batch    Period     Date                                    Person                             Property   Account    Amount     Reference   Notes
K-7899 2532     08-2014 8/13/2014 A-Tech Electric, Inc. (atechelec)                                    124-136r               498.94      1060
K-7900 2532     08-2014 8/13/2014 Program One Professional Building Services, Inc. (programone)        124-136r               210.00      1061
K-7901 2532     08-2014 8/13/2014 Stahl Cowen Crowley Addis LLC (stahlcowen)                           124-136r              1,002.95     1062
K-7902 2532     08-2014 8/13/2014 Village of Algonquin (villalgo)                                      124-136r               499.84      1063
K-8163 2643     08-2014 8/29/2014 Allied Waste Services #933 (allied-933)                              124-136r               534.50      1064
K-8164 2643     08-2014 8/29/2014 Commonwealth Edison (comed)                                          124-136r               194.50      1065
K-8165 2643     08-2014 8/29/2014 FL RC Management, LLC (flrcmana)                                     124-136r                44.12      1066
K-8166 2643     08-2014 8/29/2014 Nicor Gas Co. (nicor)                                                124-136r                23.21      1067
K-8167 2643     08-2014 8/29/2014 Society Insurance (society)                                          124-136r               349.15      1068
K-8168 2643     08-2014 8/29/2014 Village of Algonquin (villalgo)                                      124-136r               546.70      1069
K-8403 2720     09-2014 9/12/2014 Program One Professional Building Services, Inc. (programone)        124-136r                84.00      1070
K-8404 2720     09-2014 9/12/2014 Society Insurance (society)                                          124-136r               349.15      1071
K-8568 2781     09-2014 9/25/2014 Alarm Detection Systems, Inc (alardete)                              124-136r               119.00      1072
K-8569 2781     09-2014 9/25/2014 Commonwealth Edison (comed)                                          124-136r               214.96      1073
K-8570 2781     09-2014 9/25/2014 FL RC Management, LLC (flrcmana)                                     124-136r              4,000.00     1074
K-8571 2781     09-2014 9/25/2014 Nicor Gas Co. (nicor)                                                124-136r                45.16      1075

                                                                                                                     Total   8,716.18




                                                                                  Page 1 of 1
                        Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 25 of 34 PageID #:892
Aged Receivables Report
Detail by Resident
Property: 124-136 S Randall Rd, Algonquin (124-13
Trans through: 9/2014
Age As of: 9/30/2014                                                                                                               Page 1

                                                    Total Unpaid   0 - 30   31 - 60   61 - 90   Over 90
Unit         Resident             Charge Code           Charges     days      days      days      days      Prepayments          Balance


124-136r - 124-136 S Randall Rd, Algonquin
130         cellphon    CPR - Cell Phone                    0.00     0.00      0.00      0.00       0.00          -0.80              -0.80
                           Repair
132          elfuego        El Fuego Tacos &            9,160.45     0.00      0.00      0.00    9,160.45          0.00           9,160.45
                           Burritos
136-A        crystall       Crystal Lake Shoe             150.00   50.00      50.00      0.00      50.00           0.00            150.00
                           Repair

Total 124-136r                                         9,310.45    50.00     50.00      0.00    9,210.45          -0.80         9,309.65

Total                                                  9,310.45    50.00     50.00      0.00    9,210.45          -0.80         9,309.65




                                                                                                               Tuesday, September 30, 2014
Rent Roll - Occupancy SummaryCase:                              1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 26 of 34 PageID #:893
As of Date: 09/30/2014 Show Excluded Units: No Show All Amounts: Annual
                                                                                                                                                                                                         Page 1
Property: 124-136 S Randall Rd, Algonquin - 124-136r

                                                                             Lease      Lease         Term                                            Rent    Recovery       Misc        Total
Unit                Lease Name                     Lease Type                 From        To         (Months)          Area           Base Rent    Per Area   Per Area   Per Area     Per Area          Deposit
130                CPR - Cell Phone Rep            Retail - Net          10/01/2010   01/31/2016       64              1,840           27,600.00      15.00       7.94       0.00        22.94           767.00

132                El Fuego Tacos & Bur            Retail - Net          08/01/2013   07/31/2018       60              1,656           31,464.00      19.00       7.93       0.00        26.93         2,622.00

136-A              Crystal Lake Shoe Re            Retail - Net          02/04/2013   02/03/2016       37               300             6,000.00      20.00       0.00       0.00        20.00             0.00

136-B              Vogue Cleaners                  Retail - Net          11/13/2007   11/12/2017       121             2,640           72,000.00      27.27       0.00       0.00        27.27             0.00

124                VACANT                          N/A                                                  -              1,280                0.00       0.00       0.00       0.00          0.00            0.00

126                VACANT                          N/A                                                  -              1,390                0.00       0.00       0.00       0.00          0.00            0.00

128A               VACANT                          N/A                                                  -              1,840                0.00       0.00       0.00       0.00          0.00            0.00

128B               VACANT                          N/A                                                  -                    0              0.00       0.00       0.00       0.00          0.00            0.00

134                VACANT                          N/A                                                  -              2,904                0.00       0.00       0.00       0.00          0.00            0.00

136                VACANT                          N/A                                                  -                    0              0.00       0.00       0.00       0.00          0.00            0.00


Summary
                                                                                                                                                     Total      Total      Total        Total
                                                                                                                                                       Rent   Recovery       Misc     Charges           Total
                                             Total Units        Percentage                         Total Area   Percentage       Total Base Rent   Per Area   Per Area   Per Area     Per Area         Deposit


                                 Occupied                   4       40.00%                             6,436        46.47%           137,064.00       21.30       4.31       0.00        25.61        3,389.00

                                    Vacant                  6       60.00%                             7,414        53.53%                 0.00        0.00       0.00       0.00          0.00            0.00

                                    Totals                 10                                        13,850                         137,064.00        9.90       2.00       0.00         11.90       3,389.00




                                                                                                                                                                                    Tuesday, September 30, 2014
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                EXHIBIT E
Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 32 of 34 PageID #:899




PNC Bank                                                               INVOICE
1 N. Franklin, Suite 2150                                                     R5004
Chicago, IL 60606
Re: Randall Road Joint Venture Receivership                        October 2, 2014



FOR PROFESSIONAL SERVICES RENDERED FOR THE PERIOD 8/1/14 – 9/30/14


Receiver’s Fees:

         Period           Monthly Fee             Proration       Fees Due
    8/1/14 – 8/31/14       $2,000.00          x    31 / 31    =   $2000.00
    9/1/14 – 9/30/14       $2,000.00          x    30 / 30    =   $2,000.00
        TOTAL                                                     $4,000.00



Total Receiver’s Fees                                             $4,000.00



Additional Charges:

       None



Total Amount Due                                                  $4,000.00




                           Frontline Real Estate Partners, LLC
                             707 Skokie Boulevard Suite 580
                                  Northbrook, IL 60062
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                EXHIBIT F
   Case: 1:13-cv-07271 Document #: 90 Filed: 10/03/14 Page 34 of 34 PageID #:901



                     IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in             )
interest by merger to National City Bank, successor      )
in interest by merger to MidAmerica Bank, FSB            )
                                                         )   No 13 cv 07271
                                     Plaintiff.          )
                                                         )   Property Address:
                         vs.                             )   124-136 S. Randall Road
                                                         )   Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general          )
Partnership; Chicago Title Land Trust Company,           )   Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as          )   Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15,        )
1993 and Known as Trust Number 3504; Jeffrey R.          )
Dunham; Robert R. Dunham; Power Pizza Company           )
d/b/a Jake’s Pizza, an Illinois domestic corporation;    )
Phoenix Leasing Incorporated, a foreign corporation;     )
                                                         )
                                     Defendants.         )

                                            ORDER

       THIS MATTER coming on to be heard before this Honorable Court on approval of the
Fifth Report of the Receiver, and the Court being fully advised in the premises;

        IT IS HEREBY ORDERED THAT:
    1. The Fifth Report of the Receiver is approved including all fees and expenses of the
       Receiver as detailed in the Report;

    2. The Receiver’s Sixth Report shall cover the period of October 1, 2014 through
       ______________________, 2014 and shall be filed by ______________________, 2014;

    3. The approval hearing for the Sixth Report of the Receiver shall be on _____________,
       2014 at _______ in Courtroom 1919 of the United States District Court For The Northern
       District of Illinois, 219 South Dearborn Street, Chicago, IL 60604;


                                             E N T E R:
                                             ________________________________________
                                             JUDGE
                                             Dated: __________________________________

Joshua E. Joseph / Receiver
707 Skokie Boulevard, Suite 580
Northbrook, IL 60062
(847) 770-6262
